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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                     Plaintiff,


 Vs.                                           Case No. 17-cr-20183
                                               Hon. Mark A. Goldsmith


 HAROLD LASHAWN NERO (D-5),

                     Defendant.

   _________________________________________________________

          DEFENDANT (D-5) HAROLD NERO’S NOTICE OF JOINDER
            IN CO-DEFENDANT (D-2) JANETTE GAGGO TAWFIK’S
            MOTION TO RELEASE DEFENDANT FROM DETENTION
                          (Doc. 428 and 428-2)


         Defendant (D-5) Harold Nero, represented by attorney Mark H. Magidson,

 files this Notice of Joinder and moves this Honorable Court to accept his

 concurrence with the arguments and relief requested in co-defendant (D-2) Janette

 Gaggo Tawfik’s following motion and its exhibit:


       • Doc. 428 - Motion and Combined Brief to Release Defendant from

         Detention, and particularly the Affidavits in Exhibit Doc. 428-2 (Defendant



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       Nero has been hospitalized in McKenzie Hospital, Sandusky, Michigan,

       for rhabdomyolysis (see Exhibit A), hypertension, chest pain,

       hypertrophic cardiomyopathy (based on severe asymmetric septal

       hypertrophy in the left ventricle of his heart--see Exhibit B), and a

       mildly enlarged aorta. (see Exhibit C - Nero Medical Records).


                                          Respectfully submitted,
 Date: March 31, 2020
                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero (D-5)
                                            615 Griswold, Suite 810
                                            Detroit, MI 48226
                                              (313) 963-4311
                                             mmag100@aol.com




                            CERTIFICATE OF SERVICE
       I certify that on March 31, 2020, I electronically filed the above Notice of
 Joinder with the Clerk of the Court using the CM/ECF system, which will send
 notification of such filing to the parties of record.
                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero (D-5)




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